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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                    CASE NO. 3:08cr79/MCR/CJK

MARK DANIEL LEITNER
_____________________________/

                                       ORDER
        This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated February 10, 2015. (Doc. 1812). Defendant has been furnished
a copy of the Report and Recommendation and has been afforded an opportunity to file
objections pursuant to Title 28, United States Code, Section 636(b)(1). I have made a de
novo determination of any timely filed objections.
        Having considered the Report and Recommendation, and any objections thereto
timely filed, I have determined that the Report and Recommendation should be adopted.
        Accordingly, it is now ORDERED as follows:
        1.    The magistrate judge’s Report and Recommendation is adopted and
incorporated by reference in this order.
        2.    Defendant Leitner’s “Petition for Return of Property” (doc, 1810) is DENIED
WITHOUT PREJUDICE.
        DONE AND ORDERED this 27th day of February, 2015.




                                            s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           CHIEF UNITED STATES DISTRICT JUDGE
